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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
______________________________________________
                                              :
MARY BALDAN                                   :
                                              :   CIVIL ACTION
                    Plaintiff,                :
                                              :   NO: 2:20-cv-01407
         vs.                                  :
                                              :
BJ’S WHOLESALE CLUB, INC., et al.             :
                                              :
                    Defendants.               :
______________________________________________:

                  BRIEF OF DEFENDANT, BJ’S WHOLESALE CLUB, INC.,
             IN SUPPORT OF ITS MOTION ENFORCE AGREEMENT TO SETTLE

       Defendant, BJ’s Wholesale Club, Inc. (the “Club”), by its undersigned attorneys,

respectfully submits this brief in support of its Motion to Enforce the Agreement to Settle into

which it has entered with Plaintiff, Mary Baldan. For the reasons set forth below, Defendant

respectfully requests that this Honorable Court grant its motion and enforce the parties’

agreement.

  I.   INTRODUCTION

       On February 2, 2022, Plaintiff, Mary Baldan, and Defendant reached an agreement in good

faith to settle this case for a confidential monetary amount. With the express written confirmation

from Plaintiff’s counsel that an agreement had been reached, Defendant considered this matter

settled and memorialized the parties’ agreement in a written confidential settlement agreement

and release, a redacted copy of which is attached to the undersigned certification of counsel as

Exhibit “B.” Over the next eleven (11) weeks, however, Plaintiff delayed, failed and/or refused

signing the agreement and delayed responding to Defendant’s counsel’s numerous requests to

sign the agreement. Significantly, Plaintiff never questioned any material term of the written

agreement, nor the monetary amount of the settlement.
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        It cannot be disputed that the parties reached a valid, binding agreement to settle this case

in February 2022, including for the monetary amount explicitly set forth in the written settlement

agreement. Thus, Plaintiff’s cooperation must be enforced.

 II.    FACTUAL BACKGROUND

        A.      Plaintiff’s Complaint and Procedural History

        On December 9, 2019, Plaintiff commenced the instant action by filing a complaint in the

Bergen County Superior Court of New Jersey. (See Compl.). According to the Complaint, Plaintiff

was a lawful invitee of the Club, a wholesale retail store. (See Id. at ¶3]). Plaintiff alleged that the

Club negligently, maintained, operated, supervised, and/or controlled the premises so as to

create a hazardous condition by failing to take precautions as to the safety and maintenance of

said premises, more specifically, wherein Plaintiff slipped and fell causing her severe and

permanent personal injuries. (Id. at ¶4).

        On January 2, 2020, the Club filed an Answer to Plaintiff’s Complaint. (See Answer). On

February 11, 2020, the Club timely filed a notice of removal action in the United States District

Court for the District of New Jersey. (See Notice of Removal [Dkt. No.: 1]). On February 27, 2020,

the Club refiled its Answer to Plaintiff’s Complaint under the federal caption. (See Federal

Answer [Dkt. No.: 3]). The parties then engaged in discovery.

        B.      The parties agree to settle Plaintiff’s claims for a specified monetary amount

        On April 28, 2021, the parties jointly provided United States Magistrate Judge Andre M.

Espinosa with an update in accordance with the Text Order dated March 29, 2021 from Judge

Wettre in which Plaintiff and the Club were ordered to provide her with an update on their

settlement efforts. (See Letter [Dkt. No.: 20]). It was noted that a settlement offer to amicably

resolve this matter had been extended and Plaintiff’s counsel recommended Plaintiff strongly

consider accepting it. (Id.)
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       After lengthy settlement negotiations and multiple conferences with Judge Espinosa, the

parties ultimately reached an amicable, and confidential, resolution of their claims on February

2, 2022. (See Certification of John M. Wutz (“Wutz Certification”) at ¶3). The Club agreed to pay

to Plaintiff through her attorney and remit a settlement draft payable in a confidential amount

representing settlement of the Lawsuit. (Id. at ¶4).

       On February 2, 2022, the undersigned counsel for the Club sent Plaintiff’s counsel the

Confidential Settlement Agreement and Release (the “Release”) via email, which included the

confidential monetary amount agreed to by the parties along with instructions regarding the

payment process. (Id. at ¶4) On February 25, 2022, having not yet received a signed Release, the

Club, through its counsel, emailed Plaintiff’s counsel again attaching the Settlement with

instructions regarding the payment process and stressing an urgency to have Plaintiff sign the

agreement. (Id. at ¶5).

       On March 15, 2022, the Club still had not received a signed Release from Plaintiff and

again emailed Plaintiff’s counsel for a signed agreement while stressing the Club’s frustration

that the case was still open. (Id. at ¶6). On March 25, 2022, the undersigned again emailed counsel

asking for a signed Release, which was followed by a telephone call from Plaintiff’s counsel

during which he advised that Plaintiff executed a settlement distribution sheet evidencing her

agreement to settle but, despite counsel’s diligent efforts, had not yet returned the executed

Release. (Id. at ¶7). Plaintiff’s counsel followed that call with an email to the undersigned

acknowledging the need for Defendant to file the instant motion. (Id. at      ¶8). As a result, the

Club has been forced to seek court intervention through this Motion to Enforce Settlement.

III.   ARGUMENT

       A.      The settlement agreement between the parties should be enforced.

       There is a strong judicial policy in favor of parties voluntarily settling lawsuits. Pennwalt

Corp. v. Plough, Inc., 676 F.2d 77, 80 (3d. Cir. 1982). When examining the validity of a settlement
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agreement, “[s]tate law governs the construction and enforcement of settlement agreements in

federal court.” See Excelsior Ins. v. Pennsbury Pain Ctr., 975 F. Supp. 342, 348-49 (D.N.J. 1996).

Under New Jersey law, a settlement agreement is a “contract like any other contract.” Peskin v.

Peskin, 638 A.2d 849, 856 (N.J. App. Div. 1994). “[P]arties create an enforceable contract when they

agree on its essential terms and manifest an intent that the terms bind them.” Baer v. Chase, 392

F.3d 609, 619 (3d Cir. 2004) (citing West Caldwell v. Caldwell, 138 A.2d 402, 410 (N.J. 1958)). Where

a contract for a settlement agreement exists, the party seeking to vacate that agreement must show

“compelling circumstances.” Bowels v. N.Y. Liberty, No. 11-3529, 2014 U.S. Dist. LEXIS 172741, at

*6 (D.N.J. Dec. 15, 2014). As New Jersey has a “strong public policy favoring settlements,” courts

should “strain to give effect to the terms of a settlement wherever possible.” Nolan v. Lee Ho, 120

N.J. 465 (1990); Dept. of Pub. Advocate v. N.J. Bd. Of Pub. Utilities, 206 N.J. Super.523, 527-28 (App.

Div. 1985).

       An agreement between the parties to settle “is binding upon the parties, whether or not

made in the presence of the court, and even in the absence of a writing.” Green v. John H. Lewis &

Co., 436 F.2d 389, 390 (3d. Cir. 1970) (internal citations omitted); see also Good v. Pa. R.R. Co., 384

F.2d 989, 990 (3d Cir. 1967) (“the settlement agreement which was entered into by duly authorized

counsel expressed the intention to settle the case for the agreed amount and was valid and

binding despite the absence of any writing or formality”). Thus, a party who agrees to the

essential terms of a settlement agreement is bound by that agreement, even though, at the time

the essential terms are agreed upon, the parties contemplate the execution of a formal document

to memorialize the agreement. See Pascarella v. Bruck, 190 N.J. Super. 118, 124-25 (App. Div. 1983);

U.S. v. Lightman, 988 F. Supp. 448, 459 (D.N.J. 1997). “[S]o long as the parties agree upon the

essential terms of a settlement, leaving the details to be ‘fleshed out’ in a writing thereafter, courts

will enforce the settlement agreement notwithstanding the absence of a future writing.” Excelsior

Ins. Co., 975 F. Supp. At 349 (internal citations omitted); see also Moss v. McDonald’s Corp., No. 03-
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5000, 2006 U.S. Dist. LEXIS 13936 (D.N.J. March 13, 2006) (granting motion to enforce settlement

agreement to resolve plaintiff’s claims against his former employer).

          Here, the parties reached a valid agreement to settle this case on February 2, 2022. On that

date, the Club confirmed that it would settle this case for a confidential amount and, based on

that assertion, emailed Plaintiff’s counsel the Release. Over the next eleven (11) weeks, Plaintiff

never alerted the Club’s counsel that she disputed any material term of the Release or the

monetary amount. As such, the evidence clearly demonstrates that the parties reached a valid

agreement upon the material terms of the Settlement. The parties’ agreement is thus enforceable.

See Finocchiaro v. Squite Corrugated Container Corp., No. 05-5154, 2008 U.S. Dist. LEXIS 3926, at *10-

11 (D.N.J. Jan. 28, 2008) (granting motion to enforce settlement agreement).

          Plaintiff failed to offer any explanation for this delay. Indeed, there is no reasonable basis

for Plaintiff to delay signing the Release. In fact, Plaintiff’s counsel advised that Plaintiff sign a

settlement distribution sheet evidencing her consent to the settlement terms. Plaintiff was

represented throughout settlement negotiations by counsel. Plaintiff, therefore, is bound by the

contract into which she entered. Accordingly, this Court should enforce the parties’ agreement to

settle.

IV.       CONCLUSION

          For the foregoing reasons, the Club respectfully requests that this Honorable Court enter

an Order enforcing the parties’ agreement to settle, adopt all of the terms and conditions found

within the Release and deem Plaintiff to have accepted those terms, and hold that the terms and
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conditions of the Release are enforceable as against Plaintiff.




                                                      Respectfully submitted,

                                                      CHARTWELL LAW

Dated: March 30, 2022                                 By:     /s/ John M. Wutz
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